Case 2:23-cv-12886-SFC-EAS ECF No. 42, PageID.1705 Filed 11/27/24 Page 1 of 5




                                 UNITED STATES DISTRICT COURT
                                 EASTERN DISTRICT OF MICHIGAN
                                      SOUTHERN DIVISION

KATRINA BERGUNDER,

        Plaintiff,                                           Case No. 23-cv-12886

v.
                                                             Hon. Sean F. Cox
JPMORGAN CHASE BANK, N.A.,                                   United States District Court Judge

      Defendant.
___________________________________/

                          OPINION & ORDER
      DENYING IN REMAINING PART DEFENDANT’S MOTION TO ENFORCE
                  SETTLEMENT AGREEMENT (ECF No. 15)

        Defendant JP Morgan Chase Bank, N.A. (“Chase”) moves to enforce a document that it

alleges memorializes its agreement with Plaintiff Katrina Bergunder to settle this civil action.

Chase does not come forward with a copy of that document, so the Court cannot enforce that

document without an evidentiary hearing. But neither party requests an evidentiary hearing and

both parties have since moved for summary judgment on other grounds. So, the Court denies

Chase’s motion to enforce the parties’ alleged settlement agreement.

                                        BACKGROUND

        Bergunder filed this civil action for damages through counsel Adam Taub in November

2023.1 Bergunder pled that Chase violated the Fair Credit Reporting Act when it reported

inaccurate information about a financial account on her credit report that she had disputed to

credit reporting agencies. Then, Taub and later Bergunder herself emailed counsel for Chase

about settling this action.


        1
        These facts are taken from the materials that the parties submitted in connection with
Chase’s motion to enforce construed in the light most favorable to Bergunder.


                                                 1
Case 2:23-cv-12886-SFC-EAS ECF No. 42, PageID.1706 Filed 11/27/24 Page 2 of 5




       In January 2024, Taub offered to settle for a cash payment and Chase’s counsel, Aimee

Gibbs, counteroffered for a lesser settlement amount. On February 14, 2024, Taub responded,

“[W]e have a deal,” and Gibbs replied, “I’ll send a settlement agreement this week.” (ECF No.

15-2, PageID.129, 130). The parties then exchanged several versions of a settlement agreement.

       Gibbs sent Taub an agreement on February 22, 2024, and a revised agreement on

February 26, 2024. After sending the revised agreement, Gibbs stated, “Let me know if you

approve and if so, please have your client sign and I will return a counter-signed copy and a

check.” (ECF No. 15-3, PageID.138). Taub then sent the February 26 agreement to Bergunder.

But Bergunder refused to sign that agreement, fired Taub, and began communicating with Chase

herself. Bergunder has since been pro se in this action.

       Bergunder emailed Gibbs on March 25, 2024, “I wanted to reach out to you directly to

express my interest in discussing the possibility of a resolution outside of court.” (ECF No. 15-

5, PageID.156). Another lawyer for Chase, Davina Bridges, emailed Bergunder “the revised

settlement agreement . . . as of 3/8/2024” later that day. (Id. at 154). The March 25 agreement

contained a non-disparagement clause.2

       Bergunder then called Bridges and complained that the March 25 agreement’s non-

disparagement clause was too broad. Bridges sent Bergunder a revised agreement on March 26,

2024, and stated, “Chase agreed to narrow the disparagement clause per your concerns.” (ECF

No. 23-4, PageID.406–07). The March 26 agreement referred to Taub as Bergunder’s legal

counsel and stated that Chase would make the settlement payment to him.3




       2
         The Court infers that the March 25 agreement contained this language from the parties’
emails because the March 25 agreement is not in the record.
       3
         Again, the Court infers these details about the March 26 agreement from the parties’
emails because the March 26 agreement is not in the record.


                                                2
Case 2:23-cv-12886-SFC-EAS ECF No. 42, PageID.1707 Filed 11/27/24 Page 3 of 5




       Bergunder took issue with the March 26 agreement as well. Bergunder told Bridges that

the agreement’s “‘legal counsel’ wording needs to be changed” and that Chase should make the

settlement payment to her directly. (Id. at 402). Bridges sent Bergunder a revised agreement on

April 25, 2024, and stated, “All references to ‘counsel’ have been replaced with ‘former

counsel.’” (Id. at 401). But Bridges declined to change the language stating that Chase would

make the settlement payment to Taub and not to Bergunder directly.

       Bergunder refused to sign the April 25 agreement and Chase’s motion to enforce

followed. Bergunder responds that the parties’ settlement agreement never became effective

because she never signed a formal agreement. The Court later ordered Chase to submit a

proposed decree of specific performance, and Chase did so. Chase’s proposed decree makes

three findings: (1) “on February 14, 2024, the Parties . . . agreed on the material terms of an

agreement to settle the instant action”; (2) “on February 22, 2024, the Parties memorialized the

material terms in a written confidential settlement and release agreement (the ‘Agreement’)”; and

(3) “the Agreement was filed” at “[]ECF No. 23.” Chase’s proposed decree also incorporates the

“Agreement” and orders the parties to perform it.4 The parties have since both moved for

summary judgment on other grounds.

       Chase’s motion to enforce the “Agreement” has been fully briefed and the Court ordered

that it would be submitted without oral argument. See E.D. Mich. L.R. 7.1(f)(2). Chase’s

motion also asked the Court to strike a pleading, and the Court granted that request and held the




       4
           Chase’s motion to enforce also sought attorneys’ fees, and the Court ordered Chase to
explain whether it sought an order compelling Bergunder to perform a contractual obligation to
pay its attorneys’ fees or whether it sought its attorneys’ fees as a sanction. Neither the text of
Chase’s proposed specific-performance decree nor any document incorporated by that proposed
decree addresses attorneys’ fees, so the Court presumes that Chase does not seek its attorneys’ fees
at this time.


                                                 3
Case 2:23-cv-12886-SFC-EAS ECF No. 42, PageID.1708 Filed 11/27/24 Page 4 of 5




remainder of the motion in abeyance. The Court now denies the remainder of Chase’s motion

for the following reasons.

                                  STANDARD OF REVIEW

       This Court may summarily enforce agreements to settle cases pending before it “where

no substantial dispute exists regarding the entry into and terms of [the settlement] agreement.”

RE/MAX Int’l, Inc. v. Realty One, Inc., 271 F.3d 633, 646 (6th Cir. 2001). But “an evidentiary

hearing is required” before the Court may enforce such an agreement “where facts material to an

agreement are disputed.” Id.

                                           ANALYSIS

       Chase asks the Court to enforce the “Agreement,” which Chase defines as a February 22,

2024, memorialization of a settlement agreement that the parties concluded on February 14,

2022. In other words, Chase asks the Court to enforce the document that Gibbs emailed Taub on

February 22, 2024. And Chase says that a copy of that document is in the record.5 However, the

document that Chase identifies as the “Agreement” is not the document that Gibbs emailed Taub

on February 22; it’s the document that Bridges emailed Bergunder on April 25, 2024. This is

evident from the fact that the “Agreement” identifies Taub as Bergunder’s “former counsel.”6

       Chase can’t have it both ways. Chase can’t argue that the document Gibbs sent Taub on

February 22 memorializes the parties’ settlement agreement while asking the Court to enforce a

different document.7 Moreover, it is unclear whether, as Bergunder maintains, the parties




       5
         Chase filed the “Agreement” under seal at ECF No. 23-4.
       6
         No copies of the various earlier agreements exchanged by the parties are in the record.
       7
         A different conclusion might follow if the document that Bridges sent Taub on April 25
modified the parties’ binding and enforceable settlement agreement, but Chase does not make that
argument.

                                                4
Case 2:23-cv-12886-SFC-EAS ECF No. 42, PageID.1709 Filed 11/27/24 Page 5 of 5




impliedly agreed that no settlement agreement would become effective unless and until they both

executed a formal agreement.

       Thus, a substantial dispute exists regarding the entry into and terms of the parties’ alleged

settlement agreement, which precludes enforcement of that agreement without an evidentiary

hearing. The Court declines to hold such a hearing because neither party requests it and both

parties have since moved for summary judgment on other grounds. Accordingly, the Court shall

not enforce the parties’ alleged settlement agreement.

                                  CONCLUSION & ORDER

       Chase fails to come forward with evidence showing that no substantial dispute exists

regarding the entry into and terms of the parties’ alleged settlement agreement, neither party

requests an evidentiary hearing on that alleged settlement agreement and both parties have since

moved for summary judgment on other grounds. Accordingly, IT IS ORDERED that Chase’s

motion to enforce the parties alleged settlement agreement (ECF No. 15) is DENIED in

remaining part.

       IT IS SO ORDERED.


Dated: November 27, 2024                             s/Sean F. Cox
                                                     Sean F. Cox
                                                     U. S. District Judge


I hereby certify that on November 27, 2024, the document above was served on counsel and/or
the parties of record via electronic means and/or First Class Mail.

                                                     s/J. McCoy
                                                     Case Manager




                                                 5
